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                         IN THE UNITED STATES DISTRICT COURT                                               |
                         FOR THE NORTHERN DISTRICT OF TEXAS                                            |
                                  AMARILLO DIVISION                                                    |
                                                                                                       |
STATE OF MISSOURI, et al.,
           Intervenor Plaintiffs,

v.                                                            2:22-CV-223-Z

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

           Defendants,

and

DANCO LABORATORIES, LLC,

            Intervenor Defendant.

                                               ORDER

       Before the Court is Defendants’ Motion to Withdraw Appearance (“Motion”) (ECF No. 208),

filed November 25, 2024. Defendants request that Emily B. Nestler be withdrawn as counsel because

she “has moved into a different management role in the Federal Programs Branch” ECF No. 208 at 1.

The Motion is unopposed.

        Withdraw of counsel is governed by Northern District of Texas Local Civil Rule 83.12.

Having considered the Motion and the relevant law, the Court GRANTS         the Motion and DIRECTS

the Clerk of the Court that Emily B. Nestler should be withdrawn as counsel in this case.

        SO ORDERED.

       November Yo 2024                                                     i                  —


                                                        MATYHEW J. KACSMARYK
                                                        UNITED STATES DISTRICT JUDGE
